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                                   UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN FRANCISCO DIVISION
11

12   BAYVIEW LOAN SERVICING, LLC,                      ) CASE NO. 3:21-cv-6638-JCS
                                                       )
13           Plaintiff,                                )
                                                       )
14      v.                                             ) STIPULATION TO EXTEND TIME WITHIN
                                                       ) WHICH TO ANSWER OR RESPOND
15   DAVE STANELY; BERRY W. MEYER,                     )
     Executor of the Estate of Melvin Rouse; and       )
16   DOES 1 to 50.                                     )
                                                       )
17           Defendants.                               )
                                                       )
18                                                     )

19           Pursuant to Civil Local Rule 6-1(a), the parties to this action stipulate to extend Defendant the
20 United States’ time within which to answer or otherwise respond to the complaint, ECF No. 1-1, until

21 September 27, 2021.

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     STIP. TO EXTEND ANSWER DEADLINE
     CASE NO. 3:21-CV-6638-JCS
                Case 3:21-cv-06638-JCS Document 6 Filed 09/03/21 Page 2 of 2




 1       DATED: September 3, 2021                             Respectfully submitted,

 2       /s/ Seth Harris 1                                    STEPHANIE M. HINDS
         SETH HARRIS                                          Acting United States Attorney
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       In compliance with Civil Local Rule 5-1(i)(3), the filer of this document attests under penalty of perjury
28   that all signatories have concurred in the filing of this document.

     STIP. TO EXTEND ANSWER DEADLINE
     CASE NO. 3:21-CV-6638-JCS
